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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                  8:13CR88
                                               )
       vs.                                     )
                                               )
JUAN AVALOS,                                   )                    ORDER
                                               )
                      Defendant.               )


      This matter is before the court on the unopposed Motion to Continue Trial [37].
Counsel need addition time to review case and to complete pretrial negotiations. The
defendant has complied with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the unopposed motion to continue trial [37] is granted, as follows:

       1.    The jury trial now set for October 1, 2013 is continued to November 19, 2013.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and November 19, 2013, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
(B)(iv).

       DATED September 17, 2013.

                                            BY THE COURT:

                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
